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                                                                                                                           PATRICK J. MCCLAIN
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                                                                                                                           JORDAN SCHETTLE
                October 7, 2022                                                                                            THERESA MONTAG
                                                                                                                           TYLER M. HELSEL
                                                                                                                           NANCY A. DOMINSKI
                Honorable Brett Ludwig                                                                                     ALEXANDER E. FOUNDOS
                United States District Court                                                                               CHRISTOPHER JACKSON
                                                                                                                           JAMES D. LEWIS
                Eastern District of Wisconsin                                                                              Assistant City Attorneys
                517 E. Wisconsin Avenue, Room 201
                Milwaukee, WI 53202

                Re:      White v. City of Milwaukee, et al.
                         Case No.: 21-CV-146

                Dear Judge Ludwig:


                Pursuant to the Court’s order from the Final Pretrial Conference held on 10/6/2022, the
                Defendants are indicating their intent to proceed with the adjournment of the jury trial with
                condition the Defendants shall be responsible for paying Plaintiff’s reasonable attorney fees
                incurred between August 6, 2022 and October 6, 2022.




                                           Very truly yours,

                                                      /s/Anthony Jackson
                                                      Anthony Jackson Attorney for the Defendants




                1032-2021-147:282076




                        Case 2:21-cv-00146-BHL Filed 10/07/22 Page 1 of 1 Document 56
